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OLF3 (Official Local Form 3)
Effective December 1, 2017
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF MASSACHUSETTS

 In re:                                                                                                  Case No.: 1:23-bk-10862
             Adam Inglis                                                                                Chapter 13
                                          Debtor(s)

                                                                            CHAPTER 13 PLAN

Check one. This plan is:
       Original
       AMENDED Amended (Identify First, Second, Third, etc.)
       Postconfirmation (Date Order Confirming Plan Was Entered:                                                     )
Date this plan was filed: 9/7/2023



 PART 1:                                                                   NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this Plan, its
provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11 of the United States
Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local Bankruptcy Rules
(“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with your
attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any other provision of
this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30) days after the date on which
the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an amended or modified Plan, unless the Court
orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for the Debtor(s), and the Chapter 13 Trustee (the “Trustee”).
The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed or if it overrules an objection to confirmation. You have received or
will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy Court which sets forth certain deadlines, including the bar date for filing a
Proof of Claim. To receive a distribution, you must file a Proof of Claim.

TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed. R. Bankr. P.,
and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30) days after the date of the
filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state whether or not this Plan includes
one or more of the following provisions. If you check the provision “Not Included,” if you check both boxes, or if you do not check a box, any of
the following provisions will be void if set forth later in this Plan. Failure to properly complete this section may result in denial of confirmation
of this Plan.

                    FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
 1.1         A limit on the amount of a secured claim, set out in Part 3.B.1, which may result in a Included Not Included
             partial payment or no payment at all to the secured creditor.
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,    Included Not Included
             set out in Part 3.B(3).
 1.3         Nonstandard provisions, set out in Part 8.                                             Included Not Included


 PART 2:                                                               PLAN LENGTH AND PAYMENTS
A.           LENGTH OF PLAN:

              36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);
              60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

               Months. 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:



B.           PROPOSED MONTHLY PAYMENTS:

 Monthly Payment Amount                                                              Number of Months
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                 Case 23-10862                       Doc 26            Filed 09/11/23 Entered 09/11/23 12:05:13                           Desc Main
                                                                        Document     Page 2 of 16
 480.00                                                                                       36

C.           ADDITIONAL PAYMENTS:

Check one.
                          None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

The total amount of Payments to the Trustee [B+C]:                                                                            $17,280.00.
This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.

 PART 3:                                                                        SECURED CLAIMS
                          None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.           CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.

             None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
             Any Secured Claim(s) in default shall be cured and payments maintained as set forth in (1) and/or (2) below.
             Complete (1) and/or (2).

             (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders otherwise, the amount(s) of
prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s) listed below. Unless the Court orders otherwise, if relief
from the automatic stay is granted as to any collateral listed in this paragraph, all payments paid through this Plan as to that collateral will cease upon
entry of the order granting relief from stay.

             (a) Secured Claim(s) (Principal Residence)
              Address of the Principal Residence:     22 Sylvan Rd
                                                      Holbrook MA 02343-2155
                     The Debtor(s) estimates that the fair market value of the Principal Residence is:                                                    $502,000.00


 Name of Creditor                                                    Type of Claim                                   Amount of Arrears
                                                                     (e.g., mortgage, lien)
 BSI Financial Services                                              First Mortgage                                  $10,167.92

                                                                                    Total of prepetition arrears on Secured Claim(s) (Principal Residence): $10,167.92

             (b) Secured Claim(s) (Other)

 Name of Creditor                                   Type of Claim                   Description of Collateral                        Amount of Arrears
                                                                                    (or address of real property)
 NONE-

                                                                                                       Total of prepetition arrears on Secured Claim(s) (Other): $0.00
                                                                                      Total prepetition arrears to be paid through this Plan [(a) + (b)]: $10,167.92

             (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):

Contractual installment payments are to be paid directly by the Debtor(s) to creditor(s). The Debtor(s) will maintain the contractual installment
payments as they arise postpetition on the secured claims listed below with any changes required by the applicable contract and noticed in conformity
with any applicable rules.

 Name of Creditor                                                    Type of Claim                                   Description of Collateral
 Aero HEC Aquisitions I LLC                                          2nd Mortgage                                    22 Sylvan Rd , Holbrook, MA 02343-2155
                                                                                                                     Norfolk County Principal Norfolk County
                                                                                                                     Registry of DeedsDeed ref. B 40423 P
                                                                                                                     522Homestead ref. B 37208 P 105
 Ally Financial                                                      Auto loan                                       2020 Jeep Cherokee FWD 22000 miles



                                                                                                                                                                    Page 2 of 8
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 Name of Creditor                                                      Type of Claim                                 Description of Collateral
 BSI Financial Services                                                First Mortgage                                22 Sylvan Rd , Holbrook, MA 02343-2155
                                                                                                                     Norfolk County Principal Norfolk County
                                                                                                                     Registry of DeedsDeed ref. B 40423 P
                                                                                                                     522Homestead ref. B 37208 P 105


B.           MODIFICATION OF SECURED CLAIMS:

Check one.

             None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.

C.           SURRENDER OF COLLATERAL:

Check one.

             None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.

 PART 4:                                                                        PRIORITY CLAIMS
Check one

             None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.

             The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise, the amount of the
             priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.           DOMESTIC SUPPORT OBLIGATIONS:

 Name of Creditor                                                      Description of Claim                          Amount of Claim
 NONE-

B.     OTHER PRIORITY CLAIMS (Except Administrative Expenses):
Name of Creditor                   Description of Claim                                                              Amount of Claim
NONE-

                                                                     Total of Priority Claim(s) (except Administrative Expenses) to be paid through this Plan: $0.00

C.           ADMINISTRATIVE EXPENSES:

             (1) ATTORNEY’S FEES:

 Name of Attorney                                                                                                 Attorney's Fees
 Eric Levitt                                                                                                                                                 $4,000.00

If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount exceeding that sum until such
time as the Court approves a fee application. If no fee application is approved, any plan payments allocated to attorney's fees in excess of MLBR
Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.

             (2) OTHER (Describe):

 NONE-




Total Administrative Expenses (excluding the Trustee’s Commission) to be paid through this Plan [(1) + (2)]: $4,000.00

             (3) TRUSTEE’S COMMISSION:

The Debtor shall pay the Trustee’s commission as calculated in Exhibit 1.


                                                                                                                                                                   Page 3 of 8
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                                                                        Document     Page 4 of 16
The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth in Exhibit 1, Line (h)
utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional funds collected by the Trustee, after
payment of any allowed secured and priority claim(s), and administrative expense(s) as provided for in this Plan, shall be disbursed to nonpriority
unsecured creditors up to 100% of the allowed claims.


 PART 5:                                                                NON PRIORITY UNSECURED CLAIMS
Check one.

             None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
             Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below. Only a creditor
             holding an allowed claim is entitled to a distribution.



                  Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $ 86.35 , which the Debtor(s) estimates
                  will provide a dividend of 0.000 %.
                  Fixed Percentage: each creditor with an allowed claim shall receive no less than % of its allowed claim.

A.           GENERAL UNSECURED CLAIMS:                                                                                                           $47,976.00

B.           UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 NONE-

C.           NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 None

D.           CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 NONE-

E.           TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:

             The amount paid to nonpriority unsecured creditor(s) is not less than that required under the Liquidation Analysis set forth in
             Exhibit 2.

                                                                                                Total Nonpriority unsecured Claims [A + B + C + D]: $47,976.00

                        Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed Percentage and enter that amount: $86.35

F.           SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):

 Name of Creditor                         Description of Claim                Amount of Claim           Treatment of Claim         Basis for Separate
                                                                                                                                   Classification
 NONE-

                                                                              Total of separately classified unsecured claim(s) to be paid through this Plan: $0.00


 PART 6:                                               EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.

             None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.

 PART 7:                                        POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE


                                                                                                                                                                  Page 4 of 8
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                                                                      Document     Page 5 of 16
If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the Debtor(s) does not receive a
discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13 Standing Trustee's Final Report and Account and the closing
of the case or (ii) dismissal of the case.

 PART 8:                                                             NONSTANDARD PLAN PROVISIONS
             None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
             This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision must be set forth
             below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not otherwise included in Official Local
             Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth elsewhere in this Plan are ineffective. To the extent
             the provisions in Part 8 are inconsistent with other provisions of this Plan, the provisions of Part 8 shall control if the box "Included" is
             checked in Part 1, Line 1.3.


 PART 9:                                                                 SIGNATURES
By signing this document, Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits filed as identified below.

By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits identified below, other than any Nonstandard
Plan Provisions in Part 8.


       /s/ Adam Inglis                                                                 September 11, 2023
       Adam Inglis                                                                     Date
       Debtor


       Debtor                                                                          Date

     /s/ Eric Levitt                                                            Date   September 11, 2023
 Signature of attorney for Debtor(s)
 Eric Levitt
  MA
 Eric Levitt
 805 W Main Street
 Hyannis, MA 02601
 (508) 775-0815
 commonlawassociates@gmail.com

The following Exhibits are filed with this Plan:
   Exhibit 1: Calculation of Plan Payment*
   Exhibit 2: Liquidation Analysis*
   Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**
   Exhibit 4: [Proposed] Order Avoiding Lien Impairing Exemption**

 List additional exhibits if applicable.


*Denotes a required Exhibit in every plan
**Denotes a required Exhibit if the box "Included" is checked in Part 1, Line 1.2.

Total number of Plan pages, included Exhibits: 8




                                                                                                                                                         Page 5 of 8
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                                                                                  EXHIBIT 1

                                                                      CALCULATION OF PLAN PAYMENT

 a)    Secured claims (Part 3.A and Part 3.B.1-3 Total):                                                                              $10,167.92
 b)    Priority claims (Part 4.A and Part 4.B Total):                                                                                      $0.00
 c)    Administrative expenses (Part 4.C.1 and 4.C.2 Total):                                                                           $4,000.00
 d)    Nonpriority unsecured claims (Part 5.E Total):                                                                                     $86.35
 e)    Separately classified unsecured claims (Part 5.F Total):                                                                            $0.00
 f)    Executory contract/lease arrears claims (Part 6 Total):                                                                             $0.00
 g)    Total of (a) + (b) + (c) + (d) + (e) + (f):                                                                                    $14,254.27
 h)    Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                                                          $17,280.00
 i)    Divide (h), Cost of Plan, by term of Plan, months:
 j)    Round up to the nearest dollar amount for Plan payment:

If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete(a) through (h) only
and the following:

 k)    Enter total amount of payments the Debtor(s) has paid to the Trustee:                                                             $698.00
 l)    Subtract line (k) from line (h) and enter amount here:                                                                         $16,582.00
 m)    Divide line (l) by the number of months remaining (33 months):                                                                    $502.48
 n)    Round up to the nearest dollar amount for amended Plan payment:                                                                    503.00

 Date the amended Plan payment shall begin:                          09/07/2023




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                                                                                EXHIBIT 2

                                                                          LIQUIDATION ANALYSIS

A. REAL PROPERTY
Address                      Value                                                   Lien                             Exemption
(Sch. A/B, Part 1)           (Sch. A/B, Part 1)                                      (Sch. D, Part 1)                 (Sch. C)
22 Sylvan Rd , Holbrook, MA 502,000.00                                               393,325.00                       0.00
02343-2155
Norfolk County Principal
Norfolk County Registry of
Deeds
Deed ref. B 40423 P 522
Homestead ref. B 37208 P 105

 Total Value of Real Property (Sch. A/B, line 55):                                                      $ 502,000.00
 Total Net Equity for Real Property (Value Less Liens):                                                 $ 108,675.00
 Less Total Exemptions for Real Property (Sch. C):                                                      $ 0.00
                                          Amount Real Property Available in Chapter 7:                  $ 108,675.00

B. MOTOR VEHICLES

 Make, Model and Year                               Value                            Lien                             Exemption
 (Sch. A/B, Part 2)                                 (Sch. A/B, Part 2)               (Sch. D, Part 1)                 (Sch. C)
 2020 Jeep Cherokee FWD                             21,327.00                        41,739.00                        0.00
 22000 miles
 2011 Jeep Grand Cherokee                           6,000.00                         0.00                             6,000.00
 2WD 110000 miles

 Total Value of Motor Vehicles (Sch. A/B, line 55):                                                     $ 27,327.00
 Total Net Equity for Motor Vehicles (Value Less Liens):                                                $ 6,000.00
 Less Total Exemptions for Motor Vehicles (Sch. C):                                                     $ 6,000.00
                                           Amount Motor Vehicle Available in Chapter 7:                 $ 0.00

C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

 Asset                                              Value                            Lien                             Exemption
                                                                                     (Sch. D, Part 1)                 (Sch. C)
 Bedroom                                            2,000.00                         0.00                             2,000.00
 Kids rooms                                         1,000.00                         0.00                             1,000.00
 Living room                                        1,000.00                         0.00                             1,000.00
 Kitchen                                            50.00                            0.00                             50.00
 Lawn mower                                         50.00                            0.00                             50.00
 snow blower                                        50.00                            0.00                             50.00
 all clothing                                       150.00                           0.00                             150.00
 Citizens Bank                                      706.34                           0.00                             706.34
 Colonial Federal Savings                           3,451.04                         0.00                             3,451.04
 Bank

 Total Value of All Other Assets:                                                                       $ 8,457.38
 Total Net Equity for All Other Assets (Value Less Liens):                                              $ 8,457.38
 Less Total Exemptions for All Other Assets:                                                            $ 8,457.38
                                     Amount of All Other Assets Available in Chapter 7:                 $ 0.00

D. SUMMARY OF LIQUIDATION ANALYSIS

                                  Amount available in Chapter 7                                                                  Amount
 A. Amount Real Property Available in Chapter 7 (Exhibit 2, A)                                                   $                               108,675.00
 B. Amount Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                                                  $                                     0.00
 C. Amount All Other Assets Available in Chapter 7 (Exhibit 2, C)                                                $                                     0.00

                                                                     TOTAL AVAILABLE IN CHAPTER 7:               $                               108,675.00

                                                                                                                                                         Page 7 of 8
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E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




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                                                                       Document     Page 9 of 16
OLF3 (Official Local Form 3)
Effective December 1, 2017
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF MASSACHUSETTS

 In re:                                                                                                  Case No.: 1:23-bk-10862
             Adam Inglis                                                                                Chapter 13
                                          Debtor(s)

                                                                            CHAPTER 13 PLAN

Check one. This plan is:
       Original
       AMENDED Amended (Identify First, Second, Third, etc.)
       Postconfirmation (Date Order Confirming Plan Was Entered:                                                     )
Date this plan was filed: 9/11/2023



 PART 1:                                                                   NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this Plan, its
provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11 of the United States
Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local Bankruptcy Rules
(“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with your
attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any other provision of
this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30) days after the date on which
the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an amended or modified Plan, unless the Court
orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for the Debtor(s), and the Chapter 13 Trustee (the “Trustee”).
The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed or if it overrules an objection to confirmation. You have received or
will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy Court which sets forth certain deadlines, including the bar date for filing a
Proof of Claim. To receive a distribution, you must file a Proof of Claim.

TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed. R. Bankr. P.,
and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30) days after the date of the
filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state whether or not this Plan includes
one or more of the following provisions. If you check the provision “Not Included,” if you check both boxes, or if you do not check a box, any of
the following provisions will be void if set forth later in this Plan. Failure to properly complete this section may result in denial of confirmation
of this Plan.

                    FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
 1.1         A limit on the amount of a secured claim, set out in Part 3.B.1, which may result in a Included Not Included
             partial payment or no payment at all to the secured creditor.
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,    Included Not Included
             set out in Part 3.B(3).
 1.3         Nonstandard provisions, set out in Part 8.                                             Included Not Included


 PART 2:                                                               PLAN LENGTH AND PAYMENTS
A.           LENGTH OF PLAN:

              36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);
              60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

               Months. 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:



B.           PROPOSED MONTHLY PAYMENTS:


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                 Case 23-10862                       Doc 26            Filed 09/11/23 Entered 09/11/23 12:05:13                           Desc Main
                                                                       Document      Page 10 of 16
 Monthly Payment Amount                                                                       Number of Months
 232.67                                                                                       3
 467.00                                                                                       33

C.           ADDITIONAL PAYMENTS:

Check one.
                          None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

The total amount of Payments to the Trustee [B+C]:                                                                            $16,109.00.
This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.

 PART 3:                                                                        SECURED CLAIMS
                          None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.           CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.

             None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
             Any Secured Claim(s) in default shall be cured and payments maintained as set forth in (1) and/or (2) below.
             Complete (1) and/or (2).

             (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders otherwise, the amount(s) of
prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s) listed below. Unless the Court orders otherwise, if relief
from the automatic stay is granted as to any collateral listed in this paragraph, all payments paid through this Plan as to that collateral will cease upon
entry of the order granting relief from stay.

             (a) Secured Claim(s) (Principal Residence)
              Address of the Principal Residence:     22 Sylvan Rd
                                                      Holbrook MA 02343-2155
                     The Debtor(s) estimates that the fair market value of the Principal Residence is:                                                    $502,000.00


 Name of Creditor                                                    Type of Claim                                   Amount of Arrears
                                                                     (e.g., mortgage, lien)
 BSI Financial Services                                              First Mortgage                                  $10,167.92

                                                                                    Total of prepetition arrears on Secured Claim(s) (Principal Residence): $10,167.92

             (b) Secured Claim(s) (Other)

 Name of Creditor                                   Type of Claim                   Description of Collateral                        Amount of Arrears
                                                                                    (or address of real property)
 NONE-

                                                                                                       Total of prepetition arrears on Secured Claim(s) (Other): $0.00
                                                                                      Total prepetition arrears to be paid through this Plan [(a) + (b)]: $10,167.92

             (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):

Contractual installment payments are to be paid directly by the Debtor(s) to creditor(s). The Debtor(s) will maintain the contractual installment
payments as they arise postpetition on the secured claims listed below with any changes required by the applicable contract and noticed in conformity
with any applicable rules.

 Name of Creditor                                                    Type of Claim                                   Description of Collateral
 Aero HEC Aquisitions I LLC                                          2nd Mortgage                                    22 Sylvan Rd , Holbrook, MA 02343-2155
                                                                                                                     Norfolk County Principal Norfolk County
                                                                                                                     Registry of DeedsDeed ref. B 40423 P
                                                                                                                     522Homestead ref. B 37208 P 105
 Ally Financial                                                      Auto loan                                       2020 Jeep Cherokee FWD 22000 miles
                                                                                                                                                                    Page 2 of 8
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 Name of Creditor                                                      Type of Claim                                 Description of Collateral
 BSI Financial Services                                                First Mortgage                                22 Sylvan Rd , Holbrook, MA 02343-2155
                                                                                                                     Norfolk County Principal Norfolk County
                                                                                                                     Registry of DeedsDeed ref. B 40423 P
                                                                                                                     522Homestead ref. B 37208 P 105


B.           MODIFICATION OF SECURED CLAIMS:

Check one.

             None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.

C.           SURRENDER OF COLLATERAL:

Check one.

             None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.

 PART 4:                                                                        PRIORITY CLAIMS
Check one

             None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.

             The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise, the amount of the
             priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.           DOMESTIC SUPPORT OBLIGATIONS:

 Name of Creditor                                                      Description of Claim                          Amount of Claim
 NONE-

B.     OTHER PRIORITY CLAIMS (Except Administrative Expenses):
Name of Creditor                   Description of Claim                                                              Amount of Claim
NONE-

                                                                     Total of Priority Claim(s) (except Administrative Expenses) to be paid through this Plan: $0.00

C.           ADMINISTRATIVE EXPENSES:

             (1) ATTORNEY’S FEES:

 Name of Attorney                                                                                                 Attorney's Fees
 Eric Levitt                                                                                                                                                 $4,000.00

If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount exceeding that sum until such
time as the Court approves a fee application. If no fee application is approved, any plan payments allocated to attorney's fees in excess of MLBR
Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.

             (2) OTHER (Describe):

 NONE-




Total Administrative Expenses (excluding the Trustee’s Commission) to be paid through this Plan [(1) + (2)]: $4,000.00

             (3) TRUSTEE’S COMMISSION:

The Debtor shall pay the Trustee’s commission as calculated in Exhibit 1.

                                                                                                                                                                   Page 3 of 8
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The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth in Exhibit 1, Line (h)
utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional funds collected by the Trustee, after
payment of any allowed secured and priority claim(s), and administrative expense(s) as provided for in this Plan, shall be disbursed to nonpriority
unsecured creditors up to 100% of the allowed claims.


 PART 5:                                                                NON PRIORITY UNSECURED CLAIMS
Check one.

             None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
             Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below. Only a creditor
             holding an allowed claim is entitled to a distribution.



                  Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $ 88.08 , which the Debtor(s) estimates
                  will provide a dividend of 0.183 %.
                  Fixed Percentage: each creditor with an allowed claim shall receive no less than % of its allowed claim.

A.           GENERAL UNSECURED CLAIMS:                                                                                                           $47,976.00

B.           UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 NONE-

C.           NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 None

D.           CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 NONE-

E.           TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:

             The amount paid to nonpriority unsecured creditor(s) is not less than that required under the Liquidation Analysis set forth in
             Exhibit 2.

                                                                                                Total Nonpriority unsecured Claims [A + B + C + D]: $47,976.00

                        Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed Percentage and enter that amount: $88.08

F.           SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):

 Name of Creditor                         Description of Claim                Amount of Claim           Treatment of Claim         Basis for Separate
                                                                                                                                   Classification
 NONE-

                                                                              Total of separately classified unsecured claim(s) to be paid through this Plan: $0.00


 PART 6:                                               EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.

             None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.

 PART 7:                                        POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE


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If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the Debtor(s) does not receive a
discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13 Standing Trustee's Final Report and Account and the closing
of the case or (ii) dismissal of the case.

 PART 8:                                                             NONSTANDARD PLAN PROVISIONS
             None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
             This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision must be set forth
             below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not otherwise included in Official Local
             Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth elsewhere in this Plan are ineffective. To the extent
             the provisions in Part 8 are inconsistent with other provisions of this Plan, the provisions of Part 8 shall control if the box "Included" is
             checked in Part 1, Line 1.3.


 PART 9:                                                                 SIGNATURES
By signing this document, Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits filed as identified below.

By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits identified below, other than any Nonstandard
Plan Provisions in Part 8.


       /s/ Adam Inglis                                                                 September 11, 2023
       Adam Inglis                                                                     Date
       Debtor


       Debtor                                                                          Date

     /s/ Eric Levitt                                                            Date   September 11, 2023
 Signature of attorney for Debtor(s)
 Eric Levitt
  MA
 Eric Levitt
 805 W Main Street
 Hyannis, MA 02601
 (508) 775-0815
 commonlawassociates@gmail.com

The following Exhibits are filed with this Plan:
   Exhibit 1: Calculation of Plan Payment*
   Exhibit 2: Liquidation Analysis*
   Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**
   Exhibit 4: [Proposed] Order Avoiding Lien Impairing Exemption**

 List additional exhibits if applicable.


*Denotes a required Exhibit in every plan
**Denotes a required Exhibit if the box "Included" is checked in Part 1, Line 1.2.

Total number of Plan pages, included Exhibits: 8




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                                                                                  EXHIBIT 1

                                                                      CALCULATION OF PLAN PAYMENT

 a)    Secured claims (Part 3.A and Part 3.B.1-3 Total):                                                                              $10,167.92
 b)    Priority claims (Part 4.A and Part 4.B Total):                                                                                      $0.00
 c)    Administrative expenses (Part 4.C.1 and 4.C.2 Total):                                                                           $4,000.00
 d)    Nonpriority unsecured claims (Part 5.E Total):                                                                                     $86.35
 e)    Separately classified unsecured claims (Part 5.F Total):                                                                            $0.00
 f)    Executory contract/lease arrears claims (Part 6 Total):                                                                             $0.00
 g)    Total of (a) + (b) + (c) + (d) + (e) + (f):                                                                                    $14,254.27
 h)    Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                                                          $15,840.00
 i)    Divide (h), Cost of Plan, by term of Plan, months:
 j)    Round up to the nearest dollar amount for Plan payment:

If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete(a) through (h) only
and the following:

 k)    Enter total amount of payments the Debtor(s) has paid to the Trustee:                                                             $698.00
 l)    Subtract line (k) from line (h) and enter amount here:                                                                         $15,142.00
 m)    Divide line (l) by the number of months remaining (33 months):                                                                    $466.36
 n)    Round up to the nearest dollar amount for amended Plan payment:                                                                   $467.00

 Date the amended Plan payment shall begin:                          09/11/2023




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                                                                                EXHIBIT 2

                                                                          LIQUIDATION ANALYSIS

A. REAL PROPERTY
Address                      Value                                                   Lien                             Exemption
(Sch. A/B, Part 1)           (Sch. A/B, Part 1)                                      (Sch. D, Part 1)                 (Sch. C)
22 Sylvan Rd , Holbrook, MA 502,000.00                                               393,325.00                       0.00
02343-2155
Norfolk County Principal
Norfolk County Registry of
Deeds
Deed ref. B 40423 P 522
Homestead ref. B 37208 P 105

 Total Value of Real Property (Sch. A/B, line 55):                                                      $ 502,000.00
 Total Net Equity for Real Property (Value Less Liens):                                                 $ 108,675.00
 Less Total Exemptions for Real Property (Sch. C):                                                      $ 500,000.00
                                          Amount Real Property Available in Chapter 7:                  $ 0.00

B. MOTOR VEHICLES

 Make, Model and Year                               Value                            Lien                             Exemption
 (Sch. A/B, Part 2)                                 (Sch. A/B, Part 2)               (Sch. D, Part 1)                 (Sch. C)
 2011 Jeep Grand Cherokee                           6,000.00                         0.00                             6,000.00
 2WD 110000 miles
 2020 Jeep Cherokee FWD                             21,327.00                        41,739.00                        0.00
 22000 miles

 Total Value of Motor Vehicles (Sch. A/B, line 55):                                                     $ 27,327.00
 Total Net Equity for Motor Vehicles (Value Less Liens):                                                $ 6,000.00
 Less Total Exemptions for Motor Vehicles (Sch. C):                                                     $ 6,000.00
                                           Amount Motor Vehicle Available in Chapter 7:                 $ 0.00

C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

 Asset                                              Value                            Lien                             Exemption
                                                                                     (Sch. D, Part 1)                 (Sch. C)
 snow blower                                        50.00                            0.00                             50.00
 Lawn mower                                         50.00                            0.00                             50.00
 Kitchen                                            50.00                            0.00                             50.00
 Living room                                        1,000.00                         0.00                             1,000.00
 Kids rooms                                         1,000.00                         0.00                             1,000.00
 Bedroom                                            2,000.00                         0.00                             2,000.00
 all clothing                                       150.00                           0.00                             150.00
 Colonial Federal Savings                           3,451.04                         0.00                             3,451.04
 Bank
 Citizens Bank                                      706.34                           0.00                             706.34

 Total Value of All Other Assets:                                                                       $ 8,457.38
 Total Net Equity for All Other Assets (Value Less Liens):                                              $ 8,457.38
 Less Total Exemptions for All Other Assets:                                                            $ 8,457.38
                                     Amount of All Other Assets Available in Chapter 7:                 $ 0.00

D. SUMMARY OF LIQUIDATION ANALYSIS

                                  Amount available in Chapter 7                                                                 Amount
 A. Amount Real Property Available in Chapter 7 (Exhibit 2, A)                                                   $                                         0.00
 B. Amount Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                                                  $                                         0.00
 C. Amount All Other Assets Available in Chapter 7 (Exhibit 2, C)                                                $                                         0.00

                                                                     TOTAL AVAILABLE IN CHAPTER 7:               $                                         0.00

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E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




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